                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )      NO. 3:13-00091
                                                      )      JUDGE CAMPBELL
JOHN FISHER                                           )

                                              ORDER

         Pending before the Court is John Fisher’s Motion to Reschedule the Pretrial Conference

(Docket No. 70). The Motion is GRANTED.

         The pretrial conference and/or change of plea hearing scheduled for July 21, 2014, is

RESCHEDULED for July 31, 2014, at 2:00 p.m.

         The trial remains scheduled for August 5, 2014, at 9:00 a.m. All other dates in Order

(Docket No. 54) remain unchanged.

         It is so ORDERED.

                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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